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           EXHIBIT B
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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION
                                www.flmb.uscourts.gov


In re:                                             Chapter 11

RMS TITANIC, INC., et al.,                         Case No.: 3:16-bk-002230-PMG
                                                   (Jointly Administered)
                      Debtors.
                                           /


          ORDER GRANTING DEFENDANTS’ MOTION TO AMEND CONSENT
         ORDER GRANTING THE MOTION FOR ENTRY OF CONSENT ORDER
         GRANTING RELIEF FROM THE AUTOMATIC STAY TO AUTHORIZE
         ADVANCEMENT, REIMBURSEMENT AND/OR PAYMENT OF COSTS
            AND FEES UNDER THE DEBTORS’DIRECTOR AND OFFICERS
                            INSURANCE POLICY

         THIS CAUSE is before the Court on ___________, 2018 at ____ upon Defendants’

Motion to Amend Consent Order granting the Motion for Entry of Consent Order granting Relief

from the Automatic Stay to Authorize Advancement, Reimbursement and/or Payment of Costs

and Fees under the Debtors’ Director and Officers Insurance Policy (the “Motion”) [ D.E.    ]

filed by Defendants Mark A. Sellers, Douglas Banker, Richard Kraniak, and Jack H. Jacobs,


                                               1
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(“Director Defendants”). Upon review of the Motion, the argument of counsel and being

otherwise fully advised in the premises, it is hereby

       ORDERED AND ADJUDGED that:

               Good cause having been shown, the Motion is GRANTED.

               Pursuant to the authority of Section 362(d)(1) of the Bankruptcy Code, the

automatic stay is lifted to the extent necessary to allow National Union1 to advance the payment

and/or reimbursement of Defense Costs or any other Losses, as defined in the Policy, claimed

by the Director Defendants relating to the Adversary Proceedings.

               The Consent Order is further amended to (i) remove any dollar amount

restrictions on payment or reimbursement by National Union of Defense Costs or other Losses

defined by the Policy, and (ii) eliminate any reporting requirement to the Plaintiff, the Debtor or

the Unsecured Creditors Committee as to any payments of Defense Costs by National Union.

               This Order shall be effective immediately, and not be subject to the stay set forth

in Rule 4001 (a) (3) of the Federal Rules of Bankruptcy Procedure.



                                                ###




1
 Capitalized terms used herein but not otherwise defined shall have the meaning ascribed in the
Motion.
                                                 2
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Submitted by:
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The party submitting this Order shall serve a copy of the signed Order on all
interested parties who are non-CM/ECF users and file a proof of service within 3
days of entry of this Order.




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